Case: 2:22-cv-02653-ALM-CMV Doc #: 12 Filed: 07/06/22 Page: 1 of 2 PAGEID #: 198




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO

 STUDENT RESOURCE CENTER, LLC,                )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )
                                              )      Case No. 2:22-cv-2653
 EASTERN GATEWAY COMMUNITY                    )
 COLLEGE,                                     )
                                              )
        Defendant.                            )

  NOTICE OF FILING OF UNREDACTED STUDENT RESOURCE CENTER LLC’S
        MOTION FOR PRELIMINARY INJUNCTION WITH EXHIBITS

       Plaintiff hereby gives notice of filing unredacted Student Resource Center LLC’s Motion

for a Preliminary Injunction with Exhibits. The Court in its Opinion and Order dated July 5,

2022 denied the Plaintiff’s Motion for Leave to File Complaint, Motion for Preliminary

Injunction and Exhibits Under Seal, and Defendant’s counsel subsequently indicated that

Defendant does not object to refiling unredacted copies. Attached is unredacted Student

Resource Center LLC’s Motion for Preliminary Injunction with Exhibits.

 Dated: July 6, 2022                              Respectfully submitted,

                                                  /s/ Robert C. Folland
                                                  C. David Paragas (0043908)
                                                  Robert C. Folland (0065728) (Trial Attorney)
                                                  David M. DeVillers (0059456)
                                                  Michelle M. Nicholson (0099833)
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                                                  Attorneys for Plaintiff Student Resource
                                                  Center, LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2022, I electronically filed the foregoing Notice of Filing

of Unredacted Student Resource Center LLC’s Motion for Preliminary Injunction with Exhibits

and served the same on all parties of record using the Court’s CM/ECF system.



 Dated: July 6, 2022                                 Respectfully submitted,

                                                     /s/ Robert C. Folland
                                                     Robert C. Folland




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